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1     CENTER FOR DISABILITY ACCESS
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7
8                              UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
9
10    ORLANDO GARCIA,                           ) Case No.: 2:20-cv-07929-JEM
                                                )
              Plaintiff,                        )
11
                                                ) NOTICE OF SETTLEMENT AND
        v.                                      ) REQUEST TO VACATE ALL
12
      301 N. BRAND BOULEVARD, LLC, a            ) CURRENTLY SET DATES
13    California Limited Liability Company;     )
      DA JUICE BAR, INC., a California          )
14    Corporation; and Does 1-10,               )
                                                )
15            Defendants.                       )
                                                )
16                                              )
            The plaintiff hereby notifies the court that a provisional settlement has been
17
      reached in the above-captioned case. The Parties would like to avoid any additional
18
      expense while they focus efforts on finalizing the terms of the settlement and reducing it
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      to a writing.
20
             The plaintiff, therefore, applies to this Honorable Court to vacate all currently set
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      dates with the expectation that the settlement will be consummated within the coming
22
      sixty (60) days, allowing for a Joint Stipulation for Dismissal with prejudice as to all
23
      parties to be filed.
24
                                       CENTER FOR DISABILITY ACCESS
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26
      Dated: October 26, 2020          By: /s/ Amanda Seabock
27                                            Amanda Seabock
28                                            Attorney for Plaintiff


      Notice of Settlement             -1-               2:20-cv-07929-JEM
